       Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 1 of 20



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

       Plaintiff,

vs.                                                    Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

       Defendant.


           JOINT STATUS REPORT AND PROVISIONAL DISCOVERY PLAN

       Pursuant to FED. R. CIV. P. 26(f), a telephonic meeting was held on August 28, 2011

between:

       Christopher M. Pacheco and LeeAnn Werbelow for Plaintiff.

       Andrew G. Schultz for Defendant.


                                    NATURE OF THE CASE

       Plaintiff is a real estate developer in Bernalillo County. Plaintiff alleges that it entered

into a development agreement with Defendant whereby Plaintiff would construct a facility for

Defendant to manufacture electric cars and Defendant would lease such facility from Plaintiff.

Plaintiff further alleges that Defendant breached the agreement and did not proceed with the

project or the lease. Plaintiff claims damages for breach of contract, negligent misrepresentation,

fraud and breach of the covenant of good faith and fair dealing.          Defendant denies these

allegations and denies that Plaintiff is entitled to any recovery.
       Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 2 of 20



             AMENDMENTS TO PLEADINGS AND JOINDER OF PARTIES

       Plaintiff intends to file:     None at this time.

       Plaintiff should be allowed until September 15, 2012         to move to amend the pleadings

and until September 15, 2012 to join additional parties in compliance with the requirements

of Fed. R. Civ. P. 15(a).

       Defendant intends to file:     None at this time.

       Defendant should be allowed until         September 15, 2012           to move to amend the

pleadings and until    September 15, 2012       to join additional parties in compliance with the

requirements of Fed. R. Civ. P. 15(a).


                                         STIPULATIONS

       The parties stipulate and agree that venue is properly laid in this District; that the United

States District Court for the District of New Mexico has jurisdiction of the parties.

       The parties are willing to further stipulate to the following facts:

       1.      Defendant is a Delaware corporation.

       2.      Plaintiff and Defendant executed a document entitled “Development Agreement”

on or about February 19, 2007.

       3.      Defendant met with Plaintiff to discuss the potential development of a facility for

electric vehicle manufacturing in Cordero Mesa Business Park, Bernalillo County, New Mexico.

       The parties agree that they will work together in the future to see if further stipulations

can be reached.

       The parties further stipulate and agree that the law governing this case is: laws of the

State of New Mexico regarding the substantive claims set forth in the complaint and federal

procedural law.



                                                 2
      Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 3 of 20



                               PLAINTIFF’S CONTENTIONS

       In early 2006 Defendant expressed an interest in relocating its automobile production

facility (the “Facility”) to Bernalillo County, New Mexico. Substantial state and county monies

were made available and accepted by Defendant for the Facility. On or around February 19,

2007 then Governor Bill Richardson publically announced that Defendant had chosen Bernalillo

County, New Mexico for the relocation of the Facility. Also on February 19, 2007, Defendant

and Plaintiff entered into the Development Agreement and both parties executed the binding

agreement. The Development Agreement expressly provides that Defendant will enter into a

lease agreement for a 150,000 sq. ft. facility in Bernalillo County, New Mexico for a period of

not less than ten years and for a rental amount beginning at $1,350,000 per year and adjusted as

provided in the Development Agreement. Plaintiff began taking actions to fulfill its obligations

under the Development Agreement immediately after the Development Agreement was

executed. Plaintiff engaged various third parties to work on the Facility. Plaintiff expended

hundreds of hours of time in facilitating the Development Agreement. Plaintiff expended funds

on soil reports, obtained governmental approvals designed and engineered parts of the Project,

obtained governmental funding to uphold its obligations under the Development Agreement.

Despite the binding agreement and the substantial time and funds expended by Plaintiff in

reliance on the Development Agreement, Defendant abandoned the Facility. Through all of

2007 and into 2008 Defendant continued to hold meetings with Plaintiff and make changes and

demands related to the Project, despite the fact that Defendant intended to abandon the Facility.

Defendant breached the Development Agreement, and as a result, Plaintiff incurred substantial

monetary damages and loss of rental income.




                                               3
       Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 4 of 20



                               DEFENDANT’S CONTENTIONS

       Defendant Tesla Motors, Inc. generally denies Plaintiff’s allegations of wrongdoing.

Plaintiff’s claims are time-barred by the applicable statute of limitations, and are barred, in whole

or in part, by the statute of frauds and the doctrines of waiver, estoppel and unclean hands. With

regard to the alleged Development Agreement, the agreement is not enforceable in that the

inducement of the Development Agreement was based on either a mutual or unilateral mistake as

to one or more material elements of the Agreement. The Development Agreement also fails

because of the lack of proper consideration. If the parties did enter into any form of enforceable

agreement for the construction and lease of a plant to be used for manufacturing electronic

vehicles, which specifically is denied, then Plaintiff failed to perform its obligations and is in

breach. Moreover, the Development Agreement was preliminary and incomplete, and Plaintiff

knew or should have known by the third calendar quarter of 2007 that Tesla was not moving

forward with its initial plans to move to New Mexico. Finally, the document speaks for itself

and should be read in context, in its entirety, and in conjunction with other related documents

and concurrently executed documents.

       As for Plaintiff’s other claims for relief, Plaintiff’s claims for fraud are barred given that

Plaintiff failed to allege the circumstances constituting any alleged fraud, negligent

misrepresentation and special damages with particularity. And if Plaintiff was injured as alleged,

which specifically is denied, then Defendant’s conduct was not the actual or proximate cause of

Plaintiff’s alleged damages, and those injuries and damages were caused by intervening or

supervening events unconnected to Defendant or the fault of third parties for which Defendant

may not be held responsible. In fact, Defendant’s negligence should be compared to the fault of

other persons, reducing any recovery against Defendant accordingly.




                                                 4
       Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 5 of 20



       Finally, Plaintiff should not be allowed any recovery in that Plaintiff failed to mitigate its

damages and any such award would constitute unjust enrichment. Plaintiff’s claim for punitive

damages is unwarranted and is limited in amount by the Constitutions of the United States and

the State of New Mexico.



                              PROVISIONAL DISCOVERY PLAN

       The parties jointly propose to the Court the following discovery plan: (Use separate

paragraphs or subparagraphs as necessary if parties disagree.)

 List all witnesses who, at this time, you think will either testify or be deposed, giving their
 name, title, address and a brief summary of their testimony. It is insufficient to list witnesses’
 addresses, save for clients, “in care of counsel.”

 List all documents which you believe, at this time, will be exhibits at the trial.

 List all experts who you believe, at this time, will testify at the trial, giving their name, address,
 area of expertise, and a brief summary of the anticipated testimony.


WITNESSES

Plaintiff’s Witnesses

                Witness Name, Title Address                     Summary of Testimony

      (1)    Steve Perich                          Plaintiff anticipates Mr. Perich may be called
             Dekker, Perich, Sabatini              to testify with respect to all matters set forth in
             7601 Jefferson NE, Suite 100          the Complaint, including, without limitation,
             Albuquerque, NM 87109                 the attendance of various parties at meetings
                                                   with Defendant, and required by Defendant, to
                                                   begin the implementation of the project
                                                   contemplated       under     the    Development
                                                   Agreement; the terms and conditions of the
                                                   Development Agreement; meetings with the
                                                   local municipality and the county regarding
                                                   requirements and local standards and the time
                                                   expended and costs incurred by the various
                                                   parties involved in the implementation of the
                                                   project contemplated under the Development


                                                   5
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 6 of 20



                                     Agreement.

(2)   Kevin L. Reid                  Plaintiff anticipates Mr. Reid may be called to
      Reid & Associates, LLC         testify with respect to all matters set forth in
      6300 Riverside Plaza Lane NW   the Complaint, including, without limitation,
      Suite 220                      the attendance of various parties at meetings
      Albuquerque, NM 87120          with Defendant, and required by Defendant, to
                                     begin the implementation of the project
                                     contemplated       under    the   Development
                                     Agreement; and the time expended and costs
                                     incurred by Reid & Investments, LLC in the
                                     implementation of the project contemplated
                                     under the Development Agreement.

(3)   Robin R. Dyche                 Plaintiff anticipates Mr. Dyche may be called
      Rio Real Estate Investment     to testify with respect to all matters set forth in
      Opportunities, LLC             the Complaint, including, without limitation,
      7615 Indian School Road NE     the attendance of various parties at meetings
      Albuquerque, NM 87110          with Defendant, and required by Defendant, to
                                     begin the implementation of the project
                                     contemplated       under     the    Development
                                     Agreement; the terms and conditions of the
                                     Development Agreement; meetings with the
                                     local municipality and the county regarding
                                     requirements and local standards and the time
                                     expended and costs incurred by the various
                                     parties involved in the implementation of the
                                     project contemplated under the Development
                                     Agreement.

(4)   E. Tim Cummins                 Plaintiff anticipates Mr. Cummins may be
      Rio Real Estate Investment     called to testify with respect to all matters set
      Opportunities, LLC             forth in the Complaint, including, without
      7615 Indian School Road NE     limitation, the attendance of various parties at
      Albuquerque, NM 87110          meetings with Defendant, and required by
                                     Defendant, to begin the implementation of the
                                     project contemplated under the Development
                                     Agreement; the terms and conditions of the
                                     Development Agreement; meetings with the
                                     local municipality and the county regarding
                                     requirements and local standards and the time
                                     expended and costs incurred by the various
                                     parties involved in the implementation of the
                                     project contemplated under the Development
                                     Agreement.




                                     6
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 7 of 20



(5)   Dale Dekker                    Plaintiff anticipates Mr. Dekker may be called
      Dekker, Perich, Sabatini       to testify with respect to all matters set forth in
      7601 Jefferson NE, Suite 100   the Complaint, including, without limitation,
      Albuquerque, NM 87109          the attendance of various parties at meetings
                                     with Defendant, and required by Defendant, to
                                     begin the implementation of the project
                                     contemplated       under     the    Development
                                     Agreement; the terms and conditions of the
                                     Development Agreement; meetings with the
                                     local municipality and the county regarding
                                     requirements and local standards and the time
                                     expended and costs incurred by the various
                                     parties involved in the implementation of the
                                     project contemplated under the Development
                                     Agreement.

(6)   Sheri Tollefson                Plaintiff anticipates Ms. Tellefson may be
      Dekker, Perich, Sabatini       called to testify with respect to all matters set
      7601 Jefferson NE, Suite 100   forth in the Complaint, including, without
      Albuquerque, NM 87109          limitation, the attendance of various parties at
                                     meetings with Defendant, and required by
                                     Defendant, to begin the implementation of the
                                     project contemplated under the Development
                                     Agreement; the terms and conditions of the
                                     Development Agreement; meetings with the
                                     local municipality and the county regarding
                                     requirements and local standards and the time
                                     expended and costs incurred by the various
                                     parties involved in the implementation of the
                                     project contemplated under the Development
                                     Agreement.

(7)   Chris Gunning                  Plaintiff anticipates Mr. Gunning may be
      Dekker, Perich, Sabatini       called to testify with respect to all matters set
      7601 Jefferson NE, Suite 100   forth in the Complaint, including, without
      Albuquerque, NM 87109          limitation, the attendance of various parties at
                                     meetings with Defendant, and required by
                                     Defendant, to begin the implementation of the
                                     project contemplated under the Development
                                     Agreement; the terms and conditions of the
                                     Development Agreement; meetings with the
                                     local municipality and the county regarding
                                     requirements and local standards and the time
                                     expended and costs incurred by the various
                                     parties involved in the implementation of the
                                     project contemplated under the Development


                                     7
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 8 of 20



                                  Agreement.

(8)    Jerry Camilli              Plaintiff anticipates Mr. Camilli may be called
       Cambro Construction        to testify with respect to the attendance of
                                  various parties at meetings with Defendant,
                                  and required by Defendant to begin the
                                  implementation of the project contemplated
                                  under      the     Development     Agreement,
                                  specifically with regard to the concrete and
                                  asphalt design; and the time expended and
                                  costs incurred by Cambro Construction in the
                                  implementation of the project contemplated
                                  under the Development Agreement.

(9)    Kevin Yearout              Plaintiff anticipates Mr. Yearout may be called
       Yearout Mechanical         to testify with respect to the attendance of
       8501 Washington St. NE     various parties at meetings with Defendant,
       Albuquerque, NM 87113      and required by Defendant to begin the
                                  implementation of the project contemplated
                                  under      the     Development      Agreement,
                                  specifically with regard to the HVAC design;
                                  and the time expended and costs incurred by
                                  Yearout Mechanical in the implementation of
                                  the    project     contemplated    under    the
                                  Development Agreement.

(10)   Bridgers & Paxton          Plaintiff anticipates a representative of
       4600 Montgomery Blvd. NE   Bridgers & Paxton may be called to testify
       Albuquerque, NM 87109      with respect to the attendance of various
                                  parties at meetings with Defendant, and
                                  required by Defendant to begin the
                                  implementation of the project contemplated
                                  under      the    Development      Agreement,
                                  specifically with regard to engineering on the
                                  project; and the time expended and costs
                                  incurred by Bridgers & Paxton in the
                                  implementation of the project contemplated
                                  under the Development Agreement.

(11)   James R. Topmiller         Plaintiff anticipates Mr. Topmiller may be
       Bohannan Houston, Inc.     called to testify with respect to the attendance
                                  of various parties at meetings with Defendant,
                                  and required by Defendant to begin the
                                  implementation of the project contemplated
                                  under      the     Development       Agreement,
                                  specifically with regard to the project


                                  8
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 9 of 20



                                      engineering; and the time expended and costs
                                      incurred by Bohannan Houston, Inc. in the
                                      implementation of the project contemplated
                                      under the Development Agreement.

(12)   DKD Electric                   Plaintiff anticipates a representative of DKD
       6801 Academy Pkwy West NE      Electric may be called to testify with respect to
       Albuquerque, NM 87109          the attendance of various parties at meetings
                                      with Defendant, and required by Defendant to
                                      begin the implementation of the project
                                      contemplated      under     the    Development
                                      Agreement, specifically with regard to the
                                      electrical design; and the time expended and
                                      costs incurred by DKD Electric in the
                                      implementation of the project contemplated
                                      under the Development Agreement.

(13)   All State Steel                Plaintiff anticipates a representative of All
       203 Murray Rd. SE.             State Steel may be called to testify with respect
       Albuquerque, NM 87105          to the attendance of various parties at meetings
                                      with Defendant, and required by Defendant to
                                      begin the implementation of the project
                                      contemplated      under    the     Development
                                      Agreement, specifically with regard to the
                                      framing and steel design; and the time
                                      expended and costs incurred by All State Steel
                                      in the implementation of the project
                                      contemplated      under    the     Development
                                      Agreement.

(14)   John Bonney                    Plaintiff anticipates Mr. Bonney may be called
       Reid & Associates, LLC         to testify regarding the general contractor’s
       6300 Riverside Plaza Lane NW   efforts in coordinating and pricing the project,
       Suite 220                      including, without limitation, the attendance of
       Albuquerque, NM 87120          various parties at meetings with Defendant,
                                      and required by Defendant, to begin the
                                      implementation of the project contemplated
                                      under the Development Agreement; and the
                                      time expended and costs incurred by Reid &
                                      Investments, LLC in the implementation of the
                                      project contemplated under the Development
                                      Agreement.


(15)   Kyle Bodhaine                  Plaintiff anticipates Mr. Bodhaine may be
       Reid & Associates, LLC         called to testify regarding the general


                                      9
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 10 of 20



       6300 Riverside Plaza Lane NW    contractor’s efforts in coordinating and pricing
       Suite 220                       the project, including, without limitation, the
       Albuquerque, NM 87120           attendance of various parties at meetings with
                                       Defendant, and required by Defendant, to
                                       begin the implementation of the project
                                       contemplated      under     the    Development
                                       Agreement; and the time expended and costs
                                       incurred by Reid & Investments, LLC in the
                                       implementation of the project contemplated
                                       under the Development Agreement.

(16)   Bill Smith                      Plaintiff anticipates Mr. Smith may be called
       333 Rio Rancho Blvd, Suite      to testify regarding the general contractor’s
       Rio Rancho, NM 87124            efforts in coordinating and pricing the project,
                                       including, without limitation, the attendance of
                                       various parties at meetings with Defendant,
                                       and required by Defendant, to begin the
                                       implementation of the project contemplated
                                       under the Development Agreement; and the
                                       time expended and costs incurred by Reid &
                                       Investments, LLC in the implementation of the
                                       project contemplated under the Development
                                       Agreement.

(17)   Rick Homans                     Plaintiff anticipates Mr. Homans may be called
       Former Secretary, Economic      to testify regarding the agreements and
       Development                     negotiations between the State of New Mexico
                                       for incentives Defendant was to receive for
                                       selecting New Mexico as its new site.

(18)   Kelly O’Donnell                 Plaintiff anticipates Ms. O’Donnell may be
       Former Deputy Secretary         called to testify regarding the agreements and
       Economic Development            negotiations between the State of New Mexico
                                       for incentives and entitlement packages
                                       Defendant was to receive for selecting New
                                       Mexico as its new site and Defendant’s
                                       assurance it would pay all expenses if the
                                       project was not completed and lease not
                                       entered into.

(19)   Thaddeus Lucero,                Plaintiff anticipates Mr. Lucero may be called
       Former Bernalillo County        to testify regarding the agreements and
       Manager                         negotiations between the County of Bernalillo
                                       for incentives and entitlement packages
                                       Defendant was to receive for selecting
                                       Bernalillo County, New Mexico as its new site.


                                      10
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 11 of 20




(20)   Alan Armijo                Plaintiff anticipates Mr. Armijo may be called
       Former Chair of Bernalillo to testify regarding the agreements and
       County Commissioners       negotiations between the State of New Mexico
                                  and the County of Bernalillo for incentives and
                                  entitlement packages Defendant was to receive
                                  for selecting Bernalillo County, New Mexico
                                  as its new site.

(21)   Dan Guiterrez                    Plaintiff anticipates Mr. Guiterrez may be
       Former    Director    Economic called to testify regarding the agreements and
       Development for       Bernalillo negotiations between the State of New Mexico
       County                           and the County of Bernalillo for incentives and
                                        entitlement packages Defendant was to receive
                                        for selecting Bernalillo County, New Mexico
                                        as its new site.

(22)   Gary Tonges                       Plaintiff anticipates Mr. Tonges may be called
       Albuquerque Economic              to testify regarding the agreements and
       Development                       negotiations between the City of Albuquerque,
       851 University Blvd. SE, Suite    the County of Bernalillo and the State of New
       203                               Mexico for incentives and entitlement
       Albuquerque, NM 87106             packages Defendant was to receive for
                                         selecting Albuquerque, New Mexico as its new
                                         site and Defendant’s assurance it would pay all
                                         expenses if the project was not completed and
                                         lease not entered into.

(23)   Eion Musk                         Plaintiff anticipates Mr. Musk may be called to
       CEO of Tesla, Inc.                testify regarding the agreements and
       c/o Andy Schultz                  negotiations of terms of the Development
       Rodey Law Firm                    Agreement, the City of Albuquerque, the
       P.O. Box 1888                     County of Bernalillo and the State of New
       Albuquerque, NM 87103             Mexico for incentives and entitlement
                                         packages Defendant was to receive for
                                         selecting Albuquerque, New Mexico as its new
                                         site Defendant’s commitment to complete the
                                         project and Defendant’s decision to breach the
                                         Development Agreement and not relocate to
                                         New Mexico.
(24)   Ron Lloyd                         Plaintiff anticipates Mr. Llyod may be called
       Former Tesla, Inc. Employee       to testify regarding the agreements and
       c/o WildPackets Inc.              negotiations of terms of the Development
       1340 Treat Blvd                   Agreement, the City of Albuquerque, the
       Suite 500                         County of Bernalillo and the State of New
       Walnut Creek, CA 94597            Mexico for incentives and entitlement


                                        11
     Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 12 of 20



                                               packages Defendant was to receive for
                                               selecting Albuquerque, New Mexico as its new
                                               site and Defendant’s commitment to complete
                                               the project.

Defendant’s Witnesses

A.    Current Tesla employees

      c/o Andrew Schultz
      Rodey, Dickason, Sloan, Akin & Robb, P.A.
      P.O. Box 1888
      Albuquerque, NM 87103

      1.     Diarmuid O’Connell
             Vice-President, Business Development

             It is anticipated that Mr. O’Connell will testify regarding the pertinent discussions
             and negotiations related to the “Development Agreement” with Plaintiff and the
             “Economic Development Agreement” with the State of New Mexico and
             Affiliated Parties. He also may testify concerning the parties’ performance under
             these agreements.

      2.     Yannick Roux
             Manufacturing Engineer

             It is anticipated that Mr. Roux will testify regarding the pertinent discussions and
             negotiations related to the “Development Agreement” with Plaintiff and the
             “Economic Development Agreement” with the State of New Mexico and
             Affiliated Parties. He also may testify concerning the parties’ performance under
             these agreements.

      3.     Elon Musk
             Chairman of the Board

             It is anticipated that Mr. Musk will testify regarding the pertinent discussions and
             negotiations related to the “Development Agreement” with Plaintiff and the
             “Economic Development Agreement” with the State of New Mexico and
             Affiliated Parties. He also may testify concerning the parties’ performance under
             these agreements and Tesla’s decision to locate its manufacturing plant in
             California.




                                              12
     Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 13 of 20



     4.    Michael Taylor
           Vice-President, Finance

           It is anticipated that Mr. Taylor will testify regarding the pertinent discussions and
           negotiations related to the “Development Agreement” with Plaintiff and the
           “Economic Development Agreement” with the State of New Mexico and
           Affiliated Parties. He also may testify concerning the parties’ performance under
           these agreements.

B.   Former Tesla Employees

     1.    Ron Lloyd
           former Vice-President of Advanced Engineering
           Last known address: 854 Montevino Dr.
                                Pleasanton, CA 94566

           It is anticipated that Mr. Lloyd will testify regarding the technical specifications
           required for the Tesla manufacturing facility.

     2.    John Thomas
           former Director of Manufacturing.
           Address unknown at present time

           It is anticipated that Mr. Thomas will testify regarding the technical specifications
           required for the Tesla manufacturing facility.

     3.    Martin Eberhard
           former Tesla CEO
           Last known address: 300 Allen Road
                               Woodside, CA 94062

           It is anticipated that Mr. Eberhard will testify regarding Tesla’s consideration of
           various sites for its manufacturing facility and its decision as to where ultimately
           to locate this facility. He also may testify about the announcement that Tesla may
           locate in New Mexico and the execution of the “Development Agreement” with
           Plaintiff and the “Economic Development Agreement” with the State of New
           Mexico and Affiliated Parties.

     4.    Michael Marks
           former interim CEO
           Address unknown at present time

           It is anticipated that Mr. Marks will testify regarding Tesla’s consideration of
           various sites other than New Mexico for its manufacturing facility




                                            13
     Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 14 of 20



     5.    Ze’ev Drori
           former Tesla CEO
           Last known address: 48 Beverly Park
                               Beverly Hills, CA 90210

           It is anticipated that Mr. Drori will testify regarding Tesla’s consideration of
           various sites for its manufacturing facility.

C.   Other Witnesses

     1.    Robin Dyche
           Rio Real Estate Investment Opportunities, LLC
           c/o Christopher M. Pacheco
           Lastrapes, Spangler & Pacheco, P.A.
           P.O. Box 15698
           Rio Rancho, NM 87174

           It is anticipated that Mr. Dyche will testify regarding the pertinent discussions and
           negotiations related to the “Development Agreement” with Plaintiff and the
           “Economic Development Agreement” with the State of New Mexico and
           Affiliated Parties. He also may testify concerning the parties’ performance under
           these agreements and Plaintiff’s claimed damages in this litigation.

     2.    Tim Cummins
           Rio Real Estate Investment Opportunities, LLC
           c/o Christopher M. Pacheco
           Lastrapes, Spangler & Pacheco, P.A.
           P.O. Box 15698
           Rio Rancho, NM 87174

           It is anticipated that Mr. Cummins will testify regarding the pertinent discussions
           and negotiations related to the “Development Agreement” with Plaintiff and the
           “Economic Development Agreement” with the State of New Mexico and
           Affiliated Parties. He also may testify concerning the parties’ performance under
           these agreements and Plaintiff’s claimed damages in this litigation.

     3.    Representative of Westside Economic Investments, LLC
           Address unknown at present time

           Rio Real Estate Investment Opportunities is the Managing Member Westside
           Economic Investments. It is anticipated that this representative will testify
           regarding the pre-construction costs expended in relation to the “Development
           Agreement” with Plaintiff and the “Economic Development Agreement” with the
           State of New Mexico and Affiliated Parties. This representative also may testify
           concerning the parties’ performance under these agreements and Plaintiff’s
           claimed damages in this litigation.



                                            14
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 15 of 20




4.    Representatives from the following companies:
      Addresses unknown at present time

      a.     Dekker, Perich, Sabatini
      b.     Reid & Associates
      c.     Cambro
      d.     Yearout Mechanical
      e.     Bridgers & Paxton
      f.     Bohannan Houston, Inc.
      g.     DKD Electric
      h.     Allstate Steel
      i.     Company preparing soils reports

      Plaintiff has alleged that each of these companies performed work or provided
      services in connection with proposed site(s) for a manufacturing facility in New
      Mexico. It is anticipated that these representatives will testify regarding the work
      they performed or services they provided, the terms and conditions governing
      such work or services, and the bills submitted to, and amounts received by, Rio
      Real Estate Investment Opportunities.

5.    Representatives from the State of New Mexico
      Addresses unknown at present time

      These representatives may include Rick Homans, former Secretary of Economic
      Development, Kelly O’Donnell, former Deputy Secretary of Economic
      Development. It is anticipated that these representatives will testify regarding the
      pertinent discussions and negotiations related to the “Development Agreement”
      with Plaintiff and the “Economic Development Agreement” with the State of New
      Mexico and Affiliated Parties. They also may testify concerning legislative and
      other governmental action taken in relation to these Agreements.

6.    Representatives of Bernalillo County
      Addresses unknown at present time

      It is anticipated that these representatives will testify regarding legislative and
      other governmental action taken in relation to the “Development Agreement” with
      Plaintiff and the “Economic Development Agreement” with the State of New
      Mexico and Affiliated Parties.




                                       15
      Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 16 of 20



       7.      Representatives of City of Albuquerque/Albuquerque Economic Development
               Addresses unknown at present time

               These representatives may include Gary Tonjes President at Albuquerque
               Economic Development. It is anticipated that these representatives will testify
               regarding work with the State of New Mexico on the approval of industrial
               revenue bonds.

       8.      Representative of SunCal Corporation
               Addresses unknown at present time

               It is anticipated that this representative will testify regarding the conveyance of
               land abutting the proposed site of the manufacturing facility in the Cordero Mesa
               Business Park.
       9.      Representative of First Community Bank
               Addresses unknown at present time

               It is anticipated that this representative will testify regarding a potential loan to
               Tesla for construction of the manufacturing facility in New Mexico.

EXHIBITS

Plaintiff’s Exhibits

Plaintiff has not yet identified all exhibits and reserves the right to supplement the foregoing list
after the close of discovery, however, preliminarily, Plaintiff anticipates introducing the
following exhibits:

       (1)     Development Agreement between Tesla Motors, Inc. and Rio Real Estate
                Investment Opportunities, LLC dated February 29, 2007
       (2)     Correspondence between Plaintiff and Tesla
       (3)     Meeting agendas, notes, proposals and attendance rolls from 2007 and 2008
               regarding the project for Defendant contemplated under the Development
               Agreement *
       (4)     Schedules of action items from all meetings with Defendant regarding the project
               contemplated under the Development Agreement during 2007 and 2008 *
       (5)     Any and all drawings, plans and/or specifications regarding the project
               contemplated under the Development Agreement *

               * provided to Defendant via paper binder and electronically on disk and provided
                 to Defendant’s counsel electronically on disk




                                                 16
       Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 17 of 20



Defendant’s Exhibits

       1.       “Development Agreement between Tesla Motors, Inc. and Rio Real Estate
                Investment Opportunities” dated February 19, 2007 (we have yet to receive,
                review a complete copy);

       2.       “Economic Development Agreement between Tesla Motors, Inc, State of New
                Mexico, and Affiliated Parties” dated February 19, 2007;

       3.       Communications between representatives of Rio Real Estate Investment
                Opportunities, Tesla Motors, the State of New Mexico and other companies
                regarding the status of the proposed site(s) for a manufacturing facility in New
                Mexico.

List all experts who you believe, at this time, will testify at the trial, giving their name, address,

area of expertise, and a brief summary of the anticipated testimony.

Plaintiff’s Experts

 (1)        Richard Diller                      Plaintiff anticipates Mr. Diller may be called to
            NAI Maestas & Ward                  testify regarding value of the project
            Commercial Real Estate              contemplated       under    the    Development
            6801 Jefferson NE                   Agreement if sold upon completion and
            Albuquerque, NM 87109               occupancy by Defendant pursuant to the
                                                Development Agreement and lease terms
            Area of Expertise: Commercial       contained therein.
            Brokerage
 (2)        Brian McDonald                      Plaintiff anticipates Mr. McDonald will testify
            Director at University of New       regarding the total value of losses resulting
            Mexico Bureau of Business &         from Defendant’s breach of the Development
            Economic Research                   Agreement.
            1919 Las Lomas NE
            Albuquerque, NM 87106

            Area of Expertise: Economist


Defendant’s Experts

       Defendant has not identified any expert witnesses at the present time.




                                                 17
      Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 18 of 20



Discovery will be needed on the following subjects: (Brief description of subjects on which

discovery will be needed.)

       1.      Circumstances surrounding negotiation and execution of February 2007
               “Development Agreement between Tesla Motors, Inc. and Rio Real Estate
               Investment Opportunities”;

       2.      Circumstances surrounding negotiation and execution of February 2007
               “Economic Development Agreement between Tesla Motors, Inc, State of New
               Mexico, and Affiliated Parties;

       3.      Plaintiff’s performance of all obligations set forth in the February 2007
               “Development Agreement between Tesla Motors, Inc. and Rio Real Estate
               Investment Opportunities”:

       4.      Performance by State of New Mexico and Affiliated Parties of all obligations set
               forth in the February 2007 “Economic Development Agreement between Tesla
               Motors, Inc, State of New Mexico, and Affiliated Parties”;

       5.      Plaintiff’s efforts to sell, lease, develop or otherwise use the proposed facility site
               in Cordero Mesa Business Park, Bernalillo County, New Mexico; and

       6.      Actual damages incurred by Plaintiff.


       Maximum of 25 interrogatories by each party to any other party. (Responses due 30

days after service).

       Maximum of 30 requests for admission by each party to any other party. (Response

due 30 days after service).

       Maximum of 10 depositions by Plaintiff and 10 by Defendant.

       Each deposition (other than any timely disclosed expert witness) limited to maximum of

7   hours unless extended by agreement of parties.

       Reports from retained experts under Rule 26(a)(2) due:

               from Plaintiff by November 2, 2012 .

               from Defendants by December 3, 2012 .




                                                 18
      Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 19 of 20



       Subpoenas for production of documents will be served on non-parties.

       Supplementation under Rule 26(e) due December 30, 2012 (set time(s) or interval(s)).

       All discovery commenced in time to be complete by January 25, 2013 .

       Other Items: (Use separate paragraphs or subparagraphs as necessary if other parties

disagree.)


                                     PRETRIAL MOTIONS

       Plaintiff intends to file:     Motion for Partial Summary Judgment on Liability after the
                                      conclusion of discovery

       Defendant intends to file:     Motion(s) to dismiss or for partial dismissal
                                      Motion for Summary Judgment after the conclusion of
                                      discovery


                                    ESTIMATED TRIAL TIME

       The parties estimate trial will require 3 days.

        X This is a non-jury case.

             This is a jury case.

       The parties request a pretrial conference 30 days before trial .



                                        SETTLEMENT

       The possibility of settlement is unknown at the present time, but may be enhanced by use

of the following alternative dispute resolution procedure: mediation. The parties request a

settlement conference in February 2013 .



                                         EXCEPTIONS

       (Where counsel cannot agree to any recitation herein, exceptions shall be listed.)



                                               19
Case 1:12-cv-00758-JAP-ACT Document 9 Filed 09/07/12 Page 20 of 20



                        APPROVED WITHOUT EXCEPTIONS

                        LASTRAPES, SPANGLER & PACHECO, P.A.


                        By       /s/ LeeAnn Werbelow          .
                               Christopher M. Pacheco
                               LeeAnn Werbelow

                        Attorneys for Plaintiff

                        RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


                        By      /s/ Andrew G. Schultz                .
                               Andrew G. Schultz

                        Attorneys for Defendant




                                  20
